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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



REGINA RENEE FUQUA,               )
                                  )
     Plaintiff,                   )
                                  )        CIVIL ACTION NO.
     v.                           )          2:19cv548-MHT
                                  )               (WO)
OFFICER A. DAVIS,                 )
                                  )
     Defendant.                   )

                              JUDGMENT

    In accordance with the opinion entered today, it is

the ORDER, JUDGMENT, and DECREE of the court as follows:

    (1)   Defendant     Ahmeer     Davis’s    motion     for   summary

judgment (Doc. 20) is granted.

    (2) Judgment is entered in favor of defendant Davis

and against plaintiff Regina Renee Fuqua, with plaintiff

Fuqua taking nothing by her complaint.

    It is further ORDERED that costs are taxed against

plaintiff Fuqua, for which execution may issue.
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    The clerk of the court is DIRECTED to enter this

document on the civil docket as a final judgment pursuant

to Rule 58 of the Federal Rules of Civil Procedure.

    This case is closed.

    DONE, this the 23rd day of September, 2022.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




                                  2
